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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                        11/2/2020


THE PHILLIES,

                                            Plaintiff,                   19-CV-07239 (VM)(SN)

                          -against-                                               ORDER

HARRISON/ERICKSON, INC., et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        Defendants’ motion for leave to file an amended answer and counterclaims complaint is

GRANTED. Defendants may file their Proposed Amended Answer and Counterclaims

Complaint, see ECF No. 105, Ex. A, by Thursday, November 19, 2020.

        Plaintiff shall file its joint motion for summary judgment and motion to dismiss and

motion to strike Defendants’ amended answer and counterclaims complaint on December 10,

2020, which is not to exceed 40 pages in length. Defendants shall file their joint opposition to

Plaintiff’s motions and any cross-motion for summary judgment no later than January 20, 2021,

which is not to exceed 50 pages in length. Plaintiff shall file a joint reply in further support of its

motions and in opposition to Defendants’ cross-motion, if any, no later than March 1, 2021,

which is not to exceed 40 pages in length. Defendants shall file their reply in further support of

their cross-motion, if any, no later than March 22, 2021, which is not to exceed 15 pages in

length. Unless otherwise ordered, parties should follow Judge Marrero’s individual rules of

practice.
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    The Clerk of Court is respectfully directed to terminate the motion at ECF No. 105.

SO ORDERED.



DATED:     November 2, 2020
           New York, New York




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